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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

Adana R. Finch,

                        Plaintiff,
                                                No. 1:14-cv-07816
         v.
                                                Honorable John Robert Blakey
RealPage Inc.,                                  Magistrate Judge Geraldine Brown

                        Defendant.



                                     NOTICE OF DISMISSAL

         PLEASE TAKE NOTICE that pursuant to Rule 41(a)(1)(A)(i) Plaintiff, Adana R. Finch

dismisses her Complaint with prejudice and without costs to either party.



                                                 Respectfully submitted,



                                                 By: /s Dana S. Connell

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